Case 3:24-cv-04471-EMC Document 136-5 Filed 10/15/24 Page 1 of 4

We Outlook

RE: Dias v. Dias - Ms. Dashyan Documents

From Richard Min <rmin@gkmrlaw.com>
Date Wed 10/9/2024 3:24 PM
To ‘Flores Conklin, Rommy <RFloresConklin@gibsondunn.com>; Davis, Thad A. <TDavis@gibsondunn.com>

Ce Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis <MBanuchis@gkmriaw.com>;
kelly@drsfamilylaw.com <kelly@drsfamilylaw.com>; maria@drsfamilylaw.com <maria@drsfamilylaw.com>;
Camilla Redmond <credmond@gkmrlaw.com>; *** Diasrespondent <Diasrespondent@gibsondunn.com>

Understood. | don’t think we read that the same way and obviously whether they intended to keep a
habitual residence in the future is irrelevant to the analysis as to whether the habitual residence WAS
Armenia in April 2024. However, per our conversation and in good faith, reserving all rights, we will
discuss the job application issue with our client and get back to you asap.

Richard Min|Green Kaminer Min & Rockmore LLP
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From: Flores Conklin, Rommy <RFloresConklin@gibsondunn.com>

Sent: Wednesday, October 9, 2024 3:21 PM

To: Richard Min <rmin@gkmrlaw.com>; Davis, Thad A. <TDavis@gibsondunn.com>

Cc: Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
kelly@drsfamilylaw.com; maria@drsfamilylaw.com; Camilla Redmond <credmond@gkmrlaw.com>; ***
Diasrespondent <Diasrespondent@gibsondunn.com>

Subject: RE: Dias v. Dias - Ms. Dashyan Documents
Case 3:24-cv-04471-EMC Document 136-5 Filed 10/15/24 Page 2 of 4

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Hi Richard —

Request for Production No. 8 calls for: “All DOCUMENTS that relate to YOUR contention that YOU
and/or YOUR CHILDREN maintained or intended to maintain habitual residence in Armenia, including
any and all past or present employment contracts in Armenia.”

Petitioner’s multiple applications for employment outside of Armenia go directly to this request and
specifically as to whether Petitioner “intended to maintain habitual residence in Armenia.”

Thanks,
Rommy

Rommy Flores Conklin
Associate Attorney

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RFloresConklin@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue, Los Angeles, CA 90071-3197

From: Richard Min <rmin@gkmrlaw.com>

Sent: Wednesday, October 9, 2024 12:14 PM

To: Davis, Thad A. <[Davis@gibsondunn.com>

Cc: Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
kelly@drsfamilylaw.com; maria@drsfamilylaw.com; Camilla Redmond <credmond@gkmrlaw.com>; ***
Diasrespondent <Diasrespondent@gibsondunn.com>

Subject: RE: Dias v. Dias - Ms. Dashyan Documents

Thad,

| also went through the discovery demands again and don’t see anything asking for any job applications.
As | mentioned on our call, | don’t recall any prior request that this be turned over after our discovery
responses were issued. | will follow up with our client on this as we discussed but wanted to address
this in the meantime.

Regards,

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under federal, state or local tax law or promoting, marketing or recommending to another party any
transaction or matter addressed therein.

From: Davis, Thad A. <[Davis@gibsondunn.com>

Sent: Wednesday, October 9, 2024 11:54 AM

To: Richard Min <rmin@gkmrlaw.com>

Ce: Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
kelly@drsfamilylaw.com; maria@drsfamilylaw.com; Camilla Redmond <credmond@gkmrlaw.com>; ***
Diasrespondent <Diasrespondent@gibsondunn.com>

Subject: Re: Dias v. Dias - Ms. Dashyan Documents

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Richard,

We disagree as inter alia the purported expert put at issue instances and events where she was an advocate for
petitioner in support of her supposed expert contentions here.

To help guide the discussion on this and the other outstanding issues where we await deliverables some proposals
below (and if you need more time to digest we can speak further later):

Given a corrected verified complaint and amended pleadings have not been forthcoming, and we are prejudiced in
our briefing due today and trial preparation, we propose the following:

1. Stipulation Petitioner's WHO contract for Armenia was for one year only and has not been renewed.

2. Respondent able to comment adversely on the pleadings that state otherwise, including the verified complaint
under penalty of perjury.

Given the supposedly restored, previously deleted materials still are not produced, and Petitioner’s declaration
regarding his spoliation and remediation efforts still is forthcoming, and ongoing prejudice to briefing due today and
trial preparations, Respondent proposes the following:

1. Presumption all deleted materials support grave risk finding.

2. Respondent free to add to exhibits from any restored materials and Petitioner not entitled to use any of those
materials except on rebuttal of grave risk.

Given Petitioner failed to produce records reflecting his frantic job search outside Armenia, despite discovery
requests, and employment documents reflecting his legal residence in Portugal, we propose the following:

1. Apresumption that Petitioner was actively seeking to leave Armenia immediately, and

2. A stipulation that Portugal is Petitioner’s declared legal residence.
Case 3:24-cv-04471-EMC Document 136-5 Filed 10/15/24 Page 4 of 4

Given you have refused to produce materials going to your expert's (Petitioner’s Armenian counsel) bias, and
ongoing prejudice to our briefing and trial preparation, Respondent proposes as follows:

1. Expert report stricken to the extent speaks of Armenian proceeding.

2. If expert nonetheless testifies as to the Armenian proceeding, a presumption that the privileged materials confirm
the expert's bias.

3. Alternatively produce the materials in question by noon Eastern Friday 10/11.

In a final attempt to explain the importance here, ie, waiver of privilege and our entitlement to the materials under
the case law we have provided, imagine the privileged materials reflect Petitioner's admissions of violence, the
lawyer explaining to petitioner the weaknesses in the Armenian domestic violence response, or Petitioner and his
counsel's knowledge of ineffective police response, or bribery of police as part of the Armenian legal process. All
these would show bias in the report. Petitioner cannot have it both ways and Respondent doesn’t have to take
Petitioner’s word for it.

We look forward to discussing. And reserve all rights. Thanks.

Thad A. Davis
Partner

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On 09/10/2024, at 10:46, Richard Min <rmin@gkmrlaw.com> wrote:

Aaron,

| think the sticking point is that no privileged issues were raised in the expert report and thus no waiver
has been made.

Regards,

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